                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

                     CLERK’S CERTIFICATE AND APPEALS COVER SHEET

                               ABBREVIATED ELECTRONIC RECORD


Case Caption:                     D.V.D. et al v. U.S. Department of Homeland Security et al
                                  __________________________________________________________

District Court Number:            25cv10676-BEM
                                  __________________________________________________________


Fee:    Paid?                                       X
                 Yes ____ No ____ Government filer ____ In Forma Pauperis Yes ____ No ____


Motions Pending                X No ____
                          Yes ____                          Sealed documents              X No ____
                                                                                     Yes ____
If yes, document #        4,6
                          _______________                   If yes, document #       17
                                                                                     _______________

Ex parte documents                     X
                          Yes ____ No ____                  Transcripts                           X
                                                                                     Yes ____ No ____
If yes, document #        _______________                   If yes, document #       _______________



Notice of Appeal filed by: Plaintiff/Petitioner ____                         X
                                                       Defendant/Respondent ____ Other: ____

Appeal from:
#34 Temporary Restraining Order
Other information:




        I, Robert M. Farrell, Clerk of the United States District Court for the District of Massachusetts, do
hereby certify that the annexed electronic documents:

#34 and #35
with the electronic docket sheet, constitute the abbreviated record on appeal in the above entitled case for
the Notice of Appeal # ________
                         35        filed on__________________.
                                            March 28, 2025


                                                                                          March 28, 2025
        In testimony whereof, I hereunto set my hand and affix the seal of this Court on _____________.



                                                            ROBERT M. FARRELL
                                                            Clerk of Court


                                                            /s/Matthew A. Paine
                                                            ____________________________
                                                            Deputy Clerk




COURT OF APPEALS DOCKET NUMBER ASSIGNED: ____________________________


                           PLEASE RETURN TO THE USDC CLERK’S OFFICE
